Case 2:20-cv-11269-SB-AS Document 20 Filed 04/26/21 Page 1of1 Page ID #:59

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 20-11269 SB (ASx) Date: April 26, 2021

 

Title: Eliza Sedaghatfar v. Zarifian, Inc. et al

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers]

Default by the Clerk was entered as to as to Zarifian, Inc., Piran Zarifian
Bao Foot Spa on 3/26/2021. Plaintiff is hereby ordered to show cause in writing
by not later than May 10, 2021 why this case should not be dismissed for lack of
prosecution.

 

The court will consider the filing of the following as an appropriate response
to this Order to Show Cause, on or before the above date:

e the filing of a motion for entry of default judgment;

In accordance with Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, no oral argument of this matter will be heard unless ordered by
the court. The Order will stand submitted upon the filing of the response to the
Order to Show Cause. Failure to respond to the court's Order shall result in
the dismissal of the action.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk VPC

1
